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12
                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                             SOUTHERN DMSION

15   UNITED STATES OF AMERICA,             Case No.: 8:17-cv-00996 DOC(JDE)
16            Plaintiff                   Stipulated Order to Dismiss with
17                                        Prejudice under Fed. R. Civ. P.
                    v.
18                                        41(a)(l)W(ii)
     HO YUAN CHEN
19
20            Defendant

21   II--�����������-----'

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  1      The -United States of America, Plaintiff, and Ho Yuan Chen,
  2 Defendant, stipulate under Fed. R. Civ. P. 41(a)(1)(A)(ii) that this case be
  3 dismissed with prejudice with each party bearing its own attorney's fees and
  4 costs.
  5
  6 For Plaintiff,                For Defendant,
  7 UNIT TA             S OF AMERICA H I CHE
                                                                ,.
  8                               Date: op T11                  ,   Date:
 9               . HANNA                         GREENBERG TRAURIG, LLP, by
         t     tates Attorney                    G. MICHELLE FERREIRA
10            S D. COKER                         COURTNEY A. HOPLEY
11    Assi tant United States Attorney           HOWARD HOLDERNESS
      Ch f, Tax Division
12
      ANDREW T. PRIBE
13    Assistant United States Attorney
14
15            SO ORDERED.
16                                                _________________________________
                                                  DAVID O. CARTER
17                                                U.S. District Judge
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       Dated: November 19, 2018
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